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                           UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,

                              Plaintiff,                     CRIMINAL ACTION

v.                                                          Case No. 12-20141-09-KHV

CHRISTOPHER HOLLIDAY,

                              Defendant.


                               MEMORANDUM AND ORDER

       This matter comes before the Court on defendant Holliday’s Request for Leave to Join

Pretrial Motion (ECF No. 423) and the Government’s Motion to Strike for Failure to Comply

with Scheduling Order (ECF No. 438). Defendant Holliday requests leave to join co-defendant

Christopher Craig’s pretrial motion to suppress evidence obtained from a wiretap intercept. In

response, the Government seeks an order striking the Request as untimely and for failure to

establish excusable neglect. For the reasons set forth below, defendant Holliday’s Request for

Leave to Join Pretrial Motion is denied and the Government’s Motion to Strike is granted.

I.     PROCEDURAL HISTORY

       Defendant Holliday is charged in Counts 1 with conspiracy to distribute controlled

substances, and in Counts 22, 30, 32, and 33 with the use of a telephone to facilitate the offense

alleged in Count 1. The Government applied for and obtained an order permitting it to intercept

and record communications on Target Phone 3 pursuant to 18 U.S.C. § 2518. The application for

Target Phone 3 was filed on July 26, 2011 and granted by the Court on July 28, 2011; it was

renewed by the Court on August 26, 2011 for an additional thirty days. Counts 22, 30, 32 and 33

were calls recorded by the Government while listening to communications on Target Phone 3.
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        On January 10, 2013, the initial General Order of Discovery and Scheduling (ECF No.

143) set several deadlines, including an April 1, 2013 deadline for filing motions. On January 18,

2013, the Government filed a motion for continuances of the deadlines and requested a “complex

case” finding pursuant to 18 U.S.C. § 3161(h)(7)(B). On February 14, 2013, the Court granted

the Government’s motion and entered an Order (ECF No. 199) setting a September 6, 2013

deadline for filing motions to suppress and other pretrial motions, along with an October 7, 2013

deadline for the Government’s responses. The Court scheduled the jury trial for February 3,

2014.

        On September 6, 2013, co-defendant Craig timely filed a motion (ECF No. 364) for

suppression of evidence obtained from a wiretap on Target Phone 6. Co-defendant Craig argued

in this motion that the Government’s wiretap applications were inadequate on their face to satisfy

the “necessity requirement” of 18 U.S.C. § 2518. The Government filed its response to defendant

Craig’s motion on October 7, 2013.

        On November 7, 2013, two months after the deadline for filing motions to suppress,

defendant Holliday filed his instant Request for leave to join in co-defendant Craig’s motion to

suppress evidence obtained from the wiretap on Target Phone 6. He attached as an exhibit to his

motion his proposed 10-page Motion for Joinder in Document 364. In his proposed Motion for

Joinder, defendant Holliday seeks to suppress evidence obtained with respect to a wiretap on

Target Phone 3, which is a different target phone than at issue in co-defendant Craig’s motion.

        On November 20, 2013, the Government filed its Motion to strike defendant Holliday’s

Request for failure to comply with the scheduling order.

        On November 18 and 22, District Judge Vratil referred defendant Holliday’s Request for

Leave to Join Pretrial Motion and the Government’s Motion to Strike to the undersigned



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Magistrate Judge. On November 19, 2013, co-defendant Craig’s motion to suppress wiretap

evidence on Target Phone 6 was also referred to the undersigned Magistrate Judge for a Report

and Recommendation.

       On November 19, 2013, defendant Holliday filed a pro se Motion for Appointment of

New Counsel (ECF No. 435).

       On December 3, 2013, a hearing was held on defendant Holliday’s motions. His pro se

motion requesting the appointment of new counsel was denied, and his Request to Join and the

Government’s Motion to Strike were taken under advisement. At a separate hearing on the same

day, the Court also heard argument on co-defendant Craig’s motion to suppress evidence. The

motion to suppress was taken under advisement, but the Court advised counsel that it would be

recommending, in a separately issued Report and Recommendation to the District Judge, that the

motion be denied.

       The Court is now ready to rule on defendant Holliday’s Request for Leave to Join Pretrial

Motion (ECF No. 423) and the Government’s Motion to Strike for Failure to Comply with

Scheduling Order (ECF No. 438).

II.    WHETHER DEFENDANT HAS SHOWN EXCUSABLE NEGLECT FOR HIS
       UNTIMELY MOTION

       The Government argues that defendant Holliday has not established excusable neglect for

his failure to comply with the Court’s scheduling orders. In his motion, defendant Holliday does

not make any arguments with respect the reasons or circumstances why he did not file his motion

to join, or his own motion to suppress evidence, by the September 6, 2013 scheduling order

deadline for filing such motions. At the hearing, defense counsel argued that he originally

believed a motion to suppress would be unsuccessful, but subsequently changed his position after

further research, particularly into statistics on the increased usage of wiretap applications.


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Defendant Holliday further argued that the two-month delay is not a long delay, his Request was

filed before the scheduled hearing on co-defendant Craig’s motion to suppress, and was filed

three months before trial.

       Federal Rule of Criminal Procedure 12(a)(3) requires that motions to suppress evidence

be raised prior to trial, and Rule 12(c) permits the court to set a deadline for the parties to file

pretrial motions. Under Fed. R. Crim. P. 12(e), a party waives “any Rule 12(b)(3) defense,

objection, or request” not raised by the court’s deadline, however, the court may grant relief from

the waiver “for good cause.” A failure to comply with the court’s deadline for filing pretrial

motions is a basis to deny the motion.1 The court, however, may extend the deadline for filing a

motion to suppress evidence under Fed. R. Crim. P. 45(b)(1), which provides:

       When an act must or may be done within a specified period, the court on its own
       may extend the time, or for good cause may do so on a party’s motion made:

       (A) before the originally prescribed or previously extended time expires; or

       (B) after the time expires if the party failed to act because of excusable neglect.

       Because defendant Holliday filed his motion after the deadline set by the court for filing

motions to suppress evidence, the Court may extend his time upon his motion showing good

cause and if he shows excusable neglect for his failure to timely file his Request to join the

motion to suppress. The Court first addresses whether defendant Holliday has shown excusable

neglect why he failed to file his Request to Join by the pretrial motion deadline.




1
  See United States v. Miller, 987 F.2d 1462, 1465 (10th Cir.1993) (“We hold that the district
court did not err in denying [defendant’s] untimely motion to suppress without holding a . . .
hearing . . .” under Fed. Crim. R. P. 12(f)); United States v. Bridwell, 583 F.2d 1135, 1139 (10th
Cir. 1978) (motion to suppress waived by untimely filing).

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          In Pioneer Investment Services Co. v. Brunswick Associates Ltd. Partnership,2 the United

States Supreme Court discussed excusable neglect and found it to be a somewhat “elastic

concept,” and “an equitable one, taking account of all relevant circumstances surrounding the

party’s omission.”3 The Pioneer Court articulated the four following factors in evaluating

whether a party has shown excusable neglect: (1) the danger of prejudice to the non-movant, (2)

the length of the delay and its potential impact on judicial proceedings, (3) the reason for the

delay, including whether it was within the reasonable control of the movant, and (4) whether the

movant acted in good faith.4

          With regard to the first Pioneer factor, the Government argues that it will be prejudiced

by granting defendant Holliday leave to join co-defendant Craig’s motion to suppress evidence at

this late stage of this complex, multi-defendant case. Trial is only a few months away and it

would be prejudiced by having to respond to defendant Holliday’s motion to suppress during its

critical trial preparation time period. It points out that defendant Holliday’s proposed motion to

suppress is an entirely separate 10-page motion and addresses an entirely different phone target

number and target than addressed in co-defendant Craig’s motion. The applications for the

wiretap are lengthy and would require much work by the Government to review and prepare a

response, while in the midst of its pre-trial preparations.

          Defendant Holliday asserts that there will be little prejudice to the Government because

the necessity arguments he advances for suppression of evidence are the same as those made in

co-defendant Craig’s motion, although with respect to a different target phone number. He


2
    507 U.S. 380 (1993).
3
    Id. at 392, 395.
4
    Id. at 395.

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suggests that the Government’s response to his Request, if allowed, would be similar to its

response to co-defendant Craig’s motion because the affidavits for both phone targets were

drafted by the same special agent and are structurally similar.

       Considering the respective arguments of the parties, the Court finds that the Government

would be significantly prejudiced by allowing defendant Holliday’s untimely motion to suppress.

Trial is only nine weeks away and the Government would be prejudiced by having to review

defendant Holliday’s motion to suppress at this late stage of the case, during the weeks leading

up to the jury trial. As the Government points out, defendant Holliday’s proposed motion to

suppress evidence is directed at a different target phone number than argued by co-defendant

Craig, contains arguments that were not raised by co-defendant Craig in his motion, and would

require review of lengthy wiretap applications. This favor weighs against defendant Holliday.

       The second factor the Court considers is the length of the delay and the potential impact

on the proceedings. Here, defendant Holliday’s motion is untimely by two months. While this

may not seem like a significant delay by itself, this case is set for a multiple-defendant jury trial

only 9 weeks away, making the impact of the delay significant and prejudicial to the

Government. Further complicating the matter is the fact that the Court has already held a

hearing on co-defendant Craig’s motion to suppress and a Report and Recommendation on that

motion will be forthcoming shortly. If defendant Holliday is allowed to proceed with his motion

to suppress, the Government would need time to prepare a response and a motion hearing would

need to be held. In order to accomplish all this before trial, the Government’s response time

would have to be shortened. This factor also weighs against defendant Holliday.

       The third factor is the reason for the delay, including whether it was within the reasonable

control of the movant. Defendant Holliday admitted at the hearing that the reason for the delay



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was based on his initial belief that such a motion would not be successful. His subsequent

research was not based on new or recent statistics as he cites a 2012 Wiretap Report in his

proposed motion. The reason for the delay was thus well within his reasonable control. The

factor weighs against defendant Holliday.

        The final factor, whether the movant acted in good faith, weighs in favor of defendant

Holliday. There has been no evidence or showing that defendant Holliday acted in bad faith or

deliberately delayed in filing his motion so as to obtain a tactical or strategic advantage in this

case.

        Considering all the factors in total, the Court finds that defendant Holliday has not

shown excusable neglect for his failure to file a motion to suppress evidence or motion to join

defendant Craig’s motion to suppress by the deadline set for filing pretrial motions.

        IT IS THEREFORE ORDERED that defendant Holliday’s Request for Leave to Join

Pretrial Motion (ECF No. 423) is DENIED and the Government’s Motion to Strike for Failure to

Comply with Scheduling Order (ECF No. 438) is GRANTED.

        Dated this 11th day of December, 2013, at Kansas City, Kansas.


                                             s/ David J. Waxse
                                             David J. Waxse
                                             U. S. Magistrate Judge




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